Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 1 of 16 Page ID #:487


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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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 14   BACKGRID USA, INC., a California         Case No. 2:21-cv-08874-JAK-KS
      corporation,
 15                                            JOINT REPORT RE
                      Plaintiff,               JURISDICTIONAL DISCOVERY
 16
             v.
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 18   AUDACY, INC., a Pennsylvania
      corporation; and DOES 1-10, inclusive,
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 20                   Defendants.
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                         JOINT REPORT RE JURISDICTIONAL DISCOVERY
Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 2 of 16 Page ID #:488


  1         Pursuant to this Court’s order made at the September 26, 2022, hearing and
  2   the minute order issued on October 4, 2022, the Parties jointly submit this report as
  3   follows:
  4   I.    BACKGRID USA, INC.’S PROPOSED TOPICS FOR
  5         JURISDICTIONAL DISCOVERY
  6         a.     Discovery concerning facts pertaining to alter ego and implied agency
  7                as between Audacy, Inc., Audacy Georgia, LLC, Audacy Arizona,
  8                LLC, Audacy Texas, LLC, Audacy New York, LLC, Audacy
  9                Missouri, LLC, Audacy California, LLC1, including:
 10                       i. Commingling of funds and assets as between the entities;
 11                      ii. Whether the entities have been liable for debts of the
 12                         other(s);
 13                     iii. The use of the California offices, including which radio
 14                         stations and websites they support;
 15                     iv. How the California offices are used and by whom they
 16                         are used;
 17                      v. The tasks performed by the people who work in the
 18                         California offices;
 19                     vi. Representations made by the agents and employees who
 20                         work out of the California offices about their agency;
 21                     vii. Communications by Audacy, Inc. concerning whether the
 22                         LLCs’ employees/agents are agents for Audacy, Inc.;
 23                    viii. Whether employees from one entity performs tasks for
 24                         the other entities;
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       Audacy Georgia, LLC, Audacy Arizona, LLC, Audacy Texas, LLC, Audacy New York,
      LLC, Audacy Missouri, LLC, Audacy California, LLC are collectively the LLCs.
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                        JOINT REPORT RE JURISDICTIONAL DISCOVERY
Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 3 of 16 Page ID #:489



  1                   ix. Which entity or entities benefited from the exploitation of
  2                        the Photos;
  3                    x. Whether the LLCs function for the benefit of Audacy,
  4                        Inc.;
  5                   xi. Whether the entities are adequately capitalized;
  6                   xii. Any compliance performed by any of the entities with
  7                        respect to corporate formalities;
  8                  xiii. The corporate records of each entity;
  9                  xiv. The directors and officers of the entities from the past six
 10                        years;
 11                   xv. Which entity or entities profited monetarily from the
 12                        exploitation of the Photos;
 13                  xvi. Which entity or entity experienced additional web traffic
 14                        from the exploitation of the Photos;
 15                  xvii. Which entity or entity benefited from the data collected
 16                        from the Photos, including the contests for which the
 17                        Photos were used to promote, and which entity collected
 18                        and used the data from those contests.
 19                 xviii. Audacy, Inc.’s involvement in directing the other entities’
 20                        content on their alleged properties, including on their
 21                        social media sites.
 22                  xix. Audacy Inc.’s copyright policies directed to the other
 23                        entities, including policies for using the Photos;
 24                   xx. Representations made by Audacy, Inc. concerning the
 25                        reach of Audacy Inc.’s audience and the factual basis for
 26                        the same.
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                      JOINT REPORT RE JURISDICTIONAL DISCOVERY
Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 4 of 16 Page ID #:490



  1                  xxi. Discovery concerning how social media content
  2                       producers who work for any or all of the entities work,
  3                       who gives them direction, who pays them, what
  4                       representations they make about their agency, who
  5                       benefits from their work, and what role Audacy, Inc. or
  6                       the other entities have with respect to those producers.
  7              b. Discovery concerning who uploaded the Photos at issue,
  8                 including:
  9                    i. The employment status of that person;
 10                    ii. Whether that person performed any task or tasks on
 11                       behalf of Audacy or the other entities;
 12                   iii. Representations concerning that person’s agency;
 13                   iv. The metadata of the Photos and the uploaded files, and
 14                       information pertaining to the source of the files.
 15              c. Discovery concerning who encouraged, directed, or ratified the
 16                 uploading of the infringements at issue, including:
 17                    i. The employment status of that person;
 18                    ii. Whether that person performed any tasks or tasks on
 19                       behalf of Audacy or the other entities;
 20                   iii. Any policies or oversight provided by Audacy to that
 21                       person;
 22                   iv. Representations concerning that person’s agency.
 23              d. Discovery concerning which entity or entities received the
 24                 benefit of the Photos at issue, including:
 25                    i. Which entity or entities profited monetarily from the
 26                       Photos;
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                      JOINT REPORT RE JURISDICTIONAL DISCOVERY
Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 5 of 16 Page ID #:491



  1                    ii. Which entity or entity experienced additional web traffic
  2                       from the Photos;
  3                   iii. Which entity or entity benefited from the data collected as
  4                       a result of the Photos, including the contests for which the
  5                       Photos were used to promote, and which entity collected
  6                       and used the data from those contests.
  7              e. Discovery concerning the factual representations made by
  8                 Michael Dash in support of Audacy’s motion to dismiss and its
  9                 reply brief.
 10              f. Discovery concerning the factual basis for the information
 11                 contained in each of the exhibits attached to the declaration of
 12                 Joanna Ardalan in opposition to the motion to dismiss.
 13              g. Discovery concerning how social media content producers who
 14                 work for any or all of the entities work, who gives them
 15                 direction, who pays them, what representations they make about
 16                 their agency, who benefits from their work, and what role
 17                 Audacy, Inc. or the other entities have with respect to those
 18                 producers.
 19              h. The circumstances in which Audacy, Inc. or the entities deleted
 20                 or destroyed information relevant to the uploads of the Photos
 21                 and what was deleted and destroyed.
 22              i. Communications between the Audacy, Inc. and the other entities
 23                 concerning the Photos.
 24              j. Communications between the Audacy California LLC and the
 25                 other entities concerning the Photos.
 26              k. Communications by or to Audacy, Inc. concerning the LLC’s
 27                 agents representing themselves as agents for Audacy, Inc.
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                      JOINT REPORT RE JURISDICTIONAL DISCOVERY
Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 6 of 16 Page ID #:492



  1                l. Web traffic of each the social media websites.
  2                m. Audacy’s targeting of California residents through, inter alia,
  3                   promotions, contests, mailing lists, advertisements.
  4                n. Audacy’s targeting of California clients and potential
  5                   advertisers.
  6                o. Audacy’s internal communications about Backgrid or the
  7                   Photos.
  8   II.    AUDACY INC.’S PROPOSED TOPICS FOR JURISDICTIONAL
  9          DISCOVERY
 10                a. The person who created each of the posts at issue
 11                b. The physical location where that person is employed.
 12                c. That person’s employer
 13                d. Documents sufficient to show the lack of employees of Audacy,
                      Inc.
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 15   III.   THE PARTIES’ POSITIONS ON WHY THEIR TOPICS ARE
 16          APPROPRIATE
 17          a.    Backgrid’s Position On Why The Scope of Its Discovery Topics
 18                are Appropriate
 19          Topics Relating to Alter Ego: In its motion to dismiss, Audacy challenged
 20   Backgrid’s ability to contend that Audacy California LLC should be considered the
 21   alter ego of Audacy. See Reply at 3 (Dkt. 27); Motion at 10 (Dkt. 21). Despite this,
 22   Audacy now seeks to limit jurisdictional discovery so that Backgrid does not have
 23   the opportunity to discover those facts despite Audacy’s contention that Audacy is
 24   not responsible for the acts of the local station LLCs that it claims posted the works
 25   and that Audacy California was not involved. They also claim that Audacy has no
 26   employees, presumably to support the notion that Audacy could not be responsible
 27   for the acts of its California LLC or that its California LLC cannot be responsible
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                        JOINT REPORT RE JURISDICTIONAL DISCOVERY
Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 7 of 16 Page ID #:493



  1   for the other LLCs, but that strongly suggests that alter ego is appropriate and
  2   further discovery should be done. Federal courts applying California law have
  3   found that an alter ego relationship existed where one of the entities has no
  4   employees of its own, but its functions were done by sister subsidiaries. See, e.g.,
  5   Swete v. Prof'l Bureau of Collections of Md., No. 2:09-CV-2099 FCD KJM, 2010
  6   U.S. Dist. LEXIS 2843 at *2, *7-8 (E.D. Cal. Jan. 14, 2010) (finding that defendant
  7   PBM could be the alter ego of defendant PBC, shown by defendants concession
  8   that PBC had no employees and that PBM's employees told customers that they
  9   represented PBC, even though defendants showed that there was no contract
 10   between the two entities and that PBM did not service PBC's accounts during the
 11   relevant time period); Decker v. Antovich, No. 98-60056-MM, Chapter 7,
 12   Adversary No. 00-5453,2006 Bankr. LEXIS 3698 at *3-4, *10 (Bankr. N.D. Cal.
 13   Dec. 28, 2006) (finding that alter ego relationship existed where one company
 14   “hired and paid all the employees that ran the two companies,” while the other
 15   company provided the payroll funds but lacked any employees, even though the
 16   companies used separate bank accounts).
 17         Backgrid should be permitted discovery on the alter ego relationship between
 18   Audacy, Inc. and Audacy California LLC, but also the alter ego relationships
 19   between the other LLCs, which Audacy contends posted the photos. After all,
 20   assuming it is true that the other LLC posted them, the alter ego relationship
 21   between them and Audacy California and Audacy is relevant to whether the
 22   infringement occurred in California.
 23         Each of the topics listed by Backgrid relate to one or more of the alter ego
 24   factors:
 25   • Sole ownership of all the stock in one entity by another entity or by an individual
 26   or his family members;
 27   • Overlap in the employees or attorneys of the two entities;
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                        JOINT REPORT RE JURISDICTIONAL DISCOVERY
Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 8 of 16 Page ID #:494



  1   • Disregard of legal formalities and the failure to maintain arm's length
  2   relationships among related entities;
  3   • Use of one entity as a shield against personal liability, such as by contracting with
  4   the intent to avoid performance;
  5   • Commingling of funds and other assets, such as a failure to segregate funds of the
  6   separate entities or the unauthorized diversion of corporate assets from one entity to
  7   another;
  8   • Formation and use of one entity to transfer to it the existing liability of another
  9   entity;
 10   • Manipulation of assets and liabilities between entities so as to concentrate the
 11   assets in one and the liabilities in another;
 12   • Diversion of assets from one entity to a stockholder or other entity, to the
 13   detriment of creditors;
 14   • Failure to obtain authority to issue stock;
 15   • Holding out by one entity that it is personally liable for the debts of the other
 16   entity;
 17   • Failure to maintain minutes or adequate corporate records, and the confusion of
 18   the records of the separate entities;
 19   • Overlap in directors of the two entities;
 20   • Use by both entities of the same office or business location;
 21   • Failure to adequately capitalize one entity, such as the total absence of corporate
 22   assets;
 23   • Concealment or misrepresentation of the identity of the responsible ownership,
 24   management and financial interest;
 25   • Use of the corporate entity to procure labor, services or merchandise for another
 26   entity.
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                         JOINT REPORT RE JURISDICTIONAL DISCOVERY
Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 9 of 16 Page ID #:495



  1   MGA Enter., Inc. v. Hartford Ins. Group, 2012 WL 12894053, at *8 (C.D. Cal.
  2   2012).
  3          Topics Relating to Implied Agency. Agency relationships may be inferred
  4   or implied from the conduct of parties and circumstances surrounding the events.
  5   Parrish v. National Football League Players Ass’n, 534 F.Supp.2d 1081 (N.D. Cal.
  6   2007) (citing Michelson v. Hamada, 29 Cal.App.4th 1566, 1579–80, 36 Cal.Rptr.2d
  7   343 (1994)). “Under principles of agency by estoppel, ‘when one assumes to act as
  8   an agent for another, he may not, when challenged for these acts, deny his agency
  9   ....’” Id., People v. Robertson, 6 Cal.App. 514, 517, 92 P. 498 (1907). The topics
 10   included the alter ego/implied agency section include topics that relate to whether
 11   the acts of the California LLC were attributable to Audacy through the conduct of
 12   the parties.
 13          Topics Relating to Who Uploaded the Photos at Issue/Who Encouraged,
 14   Directed, or Ratified the Infringement. It appears Audacy is agreeable to
 15   discovery on this topic. Backgrid should be permitted to conduct discovery on the
 16   representations Audacy and Audacy California LLC has made about this person
 17   and whether Audacy and Audacy California LLC benefits from this person’s work.
 18   As Audacy has represented that it could not determine who uploaded each of the
 19   photos, the metadata might be a helpful indicator of how and when the photo was
 20   created and if it was re-saved on a different machine it may include other
 21   identifying information. Moreover, any person who encouraged, directed or ratified
 22   the infringement could be contributorily/vicariously liable, which is another basis
 23   for jurisdiction, depending on this person’s agency.
 24          Topics concerning which entity or entities received the benefit of the
 25   Photos at issue. While these topics relate to alter ego, they also address whether
 26   Audacy or Audacy California are vicariously liable for the infringement, which
 27   can be the basis for specific jurisdiction.
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                         JOINT REPORT RE JURISDICTIONAL DISCOVERY
Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 10 of 16 Page ID #:496



   1         Discovery concerning the factual representations made by Michael
   2   Dash in support of Audacy’s motion to dismiss and its reply brief. Mr. Dash
   3   submitted two declarations in support of Audacy’s motion that made factual
   4   assertions that Backgrid should be permitted to explore.
   5         Discovery concerning the factual basis for the information contained
   6   in each of the exhibits attached to the declaration of Joanna Ardalan in
   7   opposition to the motion to dismiss. Attached to Ms. Ardalan’s declaration
   8   are exhibits showing that employees in California represent themselves as
   9   Audacy employees. They also show representations Audacy has made about the
  10   reach of its network and the value of its brands. Backgrid should be allowed
  11   discovery on these issues as Audacy now contests that its representations are
  12   correct.
  13         The circumstances in which Audacy, Inc. or the entities deleted or
  14   destroyed information relevant to the uploads of the Photos and what
  15   information was deleted and destroyed.
  16         At the hearing, Audacy contended that it could not determine who
  17   uploaded at least one of the photos because the photos were destroyed when it
  18   took the post down. Backgrid is entitled to conduct discovery on the
  19   circumstances of the destruction and what information was destroyed as it might
  20   have shed light on who uploaded the photo.
  21         Communications between the Audacy, Inc./Audacy California LLC
  22   and the other entities concerning the Photos. Theses communications may go
  23   to alter ego, implied agency, estoppel, whether the Photos were used to target
  24   California residents.
  25         Audacy’s targeting of California residents through, inter alia,
  26   promotions, contests, mailing lists, advertisements.       Backgrid is entitled to
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                         JOINT REPORT RE JURISDICTIONAL DISCOVERY
Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 11 of 16 Page ID #:497



   1   discovery on the quantity and quality of contacts Audacy has with California,
   2   which would include its relationship and targeting of residents in California.
   3         Audacy’s targeting of California clients and potential advertisers.
   4   Backgrid is entitled to discovery on the quantity and quality of contacts Audacy
   5   has with California, which would include its relationship and targeting of clients
   6   and advertisers in California.
   7         Audacy’s internal communications about Backgrid or the Photos.
   8         Audacy contended it did not know that Backgrid was based in California,
   9   and therefore it did not target Backgrid, a company based in Redondo Beach,
  10   California. (Motion at 7, “Audacy was not put on notice that the copyright
  11   holder was located in California.”) Backgrid is entitled to discovery on its pre-
  12   suit internal communications about Backgrid to determine the veracity of this
  13   contention. See Lindora LLC v. Isagenix International LLC, 198 F.Supp.3d
  14   1127 (S.D. Cal. 2016)
  15         b.     Audacy’s Position On Why The Scope of Its Discovery Topics
  16                are Appropriate
  17   With the exception of Plaintiff’s Proposed Topic (b)(i), none of the proposed
  18   topics are the “focused jurisdictional discovery” which this Court has ordered.
  19   This discovery should be rejected because it would not “demonstrate facts
  20   sufficient to constitute a basis for jurisdiction,” see Laub v. DOJ, 342 F.3d 1080,
  21   1093 (9th Cir. 2003). For the reasons outlined below, the discovery sought is
  22   not relevant to this issue or proportional to the needs of the case, see Fed. R.
  23   Civ. P. 26(b)(1), and should be rejected.
  24         First, Plaintiff seeks discovery related to “facts pertaining to alter ego and
  25   implied agency.” See Pl.’s Proposed Topics (a)(1) through (a)(xxi). Plaintiff’s
  26   “alter ego” theory relates only to the question of general jurisdiction, see Pl.’s
  27   Opposition (Dkt. 26) (“Opp.”) at 12-13. However, even if operations of other
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                          JOINT REPORT RE JURISDICTIONAL DISCOVERY
Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 12 of 16 Page ID #:498



   1   entities could somehow be imputed to Audacy, Inc., it would remain true that
   2   the company is headquartered in Pennsylvania and incorporated there, facts
   3   which are undisputed. Because Audacy, Inc. is neither headquartered nor
   4   incorporated in California, it is not “essentially at home” here. See Daimler AG
   5   v. Bauman, 571 U.S. 117, 136 (2014). This is true even if the activity of
   6   Audacy California were imputed to Audacy, as general jurisdiction does not lie
   7   over a company merely because it engages in “substantial, continuous and
   8   systematic” business in a state. See id. at 137-39. Nor is this a case involving
   9   “exceptional” circumstances, such as the relocation of a company’s headquarters
  10   temporarily due to a war. See BNSF Ry. v. Tyrell, 137 S. Ct. 1549, 1558 (2017).
  11         Plaintiff’s implied agency argument relates to its theory of specific
  12   jurisdiction. See Opp. at 7. Even if Audacy, Inc. had employees in California or
  13   if an agency relationship could be inferred or implied, none of those employees’
  14   actions would have any impact on a specific jurisdiction analysis unless they
  15   were actually involved in the allegedly infringing posts. See Carpenter v.
  16   Sikorsky Aircraft Corp., 101 F. Supp. 3d 911, 921 (C.D. Cal. 2015) (“Specific
  17   personal jurisdiction requires a show of forum-related activities of the defendant
  18   that are related to the claim asserted.”). The discovery proposed by Audacy will
  19   answer this question.
  20         Second, Plaintiff seeks discovery “concerning who uploaded the Photos
  21   at issue.” See Pl.’s Proposed Topics (b)(i) through (b)(iv). Audacy agrees that
  22   discovery into certain aspects of this issue is appropriate and has proposed its
  23   topics accordingly. But Plaintiff’s proposal is too broad. Specifically, Topics
  24   (b)(ii) and (b)(iii) are alter ego/agency discovery which is irrelevant for the
  25   reasons discussed above. Topic (b)(iv) seeking the metadata and sourcing of the
  26   photograph is liability-related discovery and could not inform the jurisdictional
  27   analysis here.
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                          JOINT REPORT RE JURISDICTIONAL DISCOVERY
Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 13 of 16 Page ID #:499



   1         Third, Plaintiff seeks to inquire “who encouraged, directed, or ratified the
   2   uploading of the infringements at issue.” See Pl.’s Proposed Topics (c)(i)
   3   through (c)(iv). This again appears to be broad and irrelevant alter ego/agency
   4   discovery. To extent this discovery could be relevant, Audacy seeks to answer
   5   this question through identifying the location where each person who authored a
   6   post worked, as indicated in its proposal.
   7         Fourth, Plaintiff requests information about “which entity or entities
   8   received the benefit of the Photos at issue.” See Pl.’s Proposed Topics (d)(i)
   9   through (d)(iii). Plaintiff is already aware of the radio stations to which these
  10   social media accounts related, and it is unclear what possible relevance a
  11   purported “benefit” would have on the personal jurisdiction analysis. Moreover,
  12   Audacy would respectfully submit that no specific profit can be attributed to an
  13   individual social media post.
  14         Fifth and finally, Plaintiff seeks a series of individual categories of
  15   discovery. See Pl.’s Proposed Topics (e) through (o). For Topic (e), concerning
  16   the Declaration of Michael Dash, any relevant discovery would be covered by
  17   the more specific categories proposed by Audacy. For Topic (f), concerning
  18   various exhibits attached to a declaration by Plaintiff’s counsel, Audacy, of
  19   course, has no knowledge how those exhibits were prepared. To the extent
  20   Plaintiff intends to ask questions about various persons identifying “Audacy,
  21   Inc.” as their employer on LinkedIn, that would also be agency/alter ego
  22   discovery which, again, would not actually inform the outcome here. Similarly,
  23   discovery concerning social media content producers in general, perTopic (g), is
  24   irrelevant; what is at issue is the specific persons who created the allegedly
  25   infringing posts in this case. Topic (h) is also irrelevant at this point. As
  26   Audacy has explained, one of the posts at issue was taken down following
  27   receipt of a cease and desist letter, see Suppl. Decl. of Michael Dash (Dkt. 28) ¶
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                          JOINT REPORT RE JURISDICTIONAL DISCOVERY
Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 14 of 16 Page ID #:500



   1   3 n.1, but there is no suggestion that the post on an Atlanta stations’ Instagram
   2   account would have otherwise indicated the involvement of California
   3   personnel. Topics (i), (j), and (k) are also alter ego/agency topics. Topic (l)
   4   seeking information about web traffic to social media sites has no possible
   5   relevance to any jurisdictional issue. The number of hits each post received
   6   would not demonstrate any connection to California. Topics (m) and (n) seeks
   7   Audacy’s California outreach more broadly, but, again, that is irrelevant to
   8   either a general or specific jurisdiction analysis without any evidence that the
   9   posts were targeted to California, and Plaintiff points to none. Finally, Topic (o)
  10   seeks Audacy’s communications about Backgrid or the Photos, a very broad
  11   category that clearly goes to the substance of their claims. Moreover, in their
  12   opposition to the motion to dismiss, Plaintiff relied only on their agency’s
  13   demand letter, not any sort of internal communications, and this is therefore a
  14   pure fishing expedition.
  15         If it were required to produce discovery in response to all of these topics,
  16   Audacy believes it would require at least 90 days, perhaps longer given the
  17   upcoming holiday season.
  18         Audacy believes its proposed topics are narrowly tailored to address the
  19   actual issues at stake here – whether the persons who created these posts were
  20   engaged in forum-related activities. Audacy believes it could complete the
  21   discovery it proposes within 21 days, likely less than that amount of time, unless
  22   there were additional discovery disputes.
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                         JOINT REPORT RE JURISDICTIONAL DISCOVERY
Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 15 of 16 Page ID #:501



   1   IV.   WHETHER ANY PROPOSED JURISDICTIONAL DISCOVERY IS
   2         RELEVANT TO THE CLAIMS
   3         a.      Backgrid’s Position
   4         While Backgrid’s discovery is intended to target only the jurisdictional issue,
   5   it is possible that discovery would reveal other theories of infringement, such as
   6   vicarious and contributory infringement against Audacy.
   7         b.      Audacy’s Position
   8         With respect to the Court’s question about relevance to the substantive
   9   claims, Audacy would respectfully submit that none of the alter ego/agency
  10   questions are directly relevant to the substance of this case. Among other things,
  11   Plaintiff could resolve the question of corporate responsibility by simply suing the
  12   correct entities, each of which is also subject to jurisdiction in Pennsylvania.
  13   Audacy would agree that certain topics related to the creation of the posts at issue
  14   and benefits received could be relevant, but would respectfully submit that any
  15   such discovery should be held in abeyance until such time as Plaintiff actually
  16   chooses to file a new action in a proper jurisdiction. Moreover, as a Court in this
  17   Circuit recently recognized, “[i]f the Court does not have personal jurisdiction over
  18   Defendant, then requiring Defendant to engage in discovery . . . would be
  19   prejudicial.” Long v. Gamo Outdoor S.L.U., 2022 U.S. Dist. LEXIS 127598, at *6-
  20   7 (D. Nev. July 18, 2022). This is particularly true because, like in Long, Plaintiff
  21   has served a large volume of proposed topics.
  22   Dated: October 5, 2022                  ONE LLP
  23
  24                                           By: /s/ Joanna Ardalan
                                                     Joanna Ardalan
  25                                                 Peter R. Afrasiabi
  26
                                                      Attorneys for Plaintiff,
  27                                                  Backgrid USA, Inc.
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                          JOINT REPORT RE JURISDICTIONAL DISCOVERY
Case 2:21-cv-08874-JAK-KS Document 34 Filed 10/05/22 Page 16 of 16 Page ID #:502



   1   Dated: October 5, 2022            Ballard Spahr LLP
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   3
                                         By: /s/ Thomas Sullivan
   4                                           Thomas Sullivan
   5
                                                Attorneys for Defendant,
   6                                            Audacy, Inc.
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                        JOINT REPORT RE JURISDICTIONAL DISCOVERY
